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UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS
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Len of Texas
MOTION AND ORDER ED
FOR ADMISSION PRO HAC VICE JUN 28 2094
Division Houston Main Case Number 20-32549an Ochs
-Sttrk of
Debtor In Re: NEIMAN MARCUS GROUP LTD LLC, et al. Court
This lawyer, who is admitted to the State Bar of Massachusetts
Nanis Jonathan D. Marshall
Fi Choate Hall & Stewart LLP
um Two International Place
Street B
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Seeks to appear as the attorney for this party:

LIBERTY MUTUAL INSUARNCE COMPANY

Dated: June 24, 2021 Signed: _. AZ CALE]
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COURT USE ONLY: The applicant’s state bar reports their status as:

Dated: Signed:

Deputy Clerk

Order

This lawyer is admitted pro hac vice.
Dated:

United States Bankruptcy Judge
